      Case 2:10-cr-00299-JCZ-DEK Document 272 Filed 11/06/20 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                              CRIMINAL ACTION

 VERSUS                                                                NO. 10-299

 YKEITH ANDREWS                                                        SECTION “A”


                                  ORDER AND REASONS

       Before the Court is a Motion for Compassionate Release (Rec. Doc. 262) pursuant

to 18 U.S.C. § 3582(c)(1)(A)(i) filed by the Defendant Ykeith Andrews. The Government

opposes the motion. (Rec. Doc. 271). For the following reasons, the motion is denied.

       I.     BACKGROUND

       On June 15, 2012, Andrews was convicted of conspiracy to distribute and possess

with intent to distribute 280 grams or more of cocaine base. (Rec. Doc. 183). On September

18, 2012, the Court sentenced him to 180 months of imprisonment. (Rec. Doc. 196, 197). On

June 29, 2020, Andrews filed a Motion to Reduce Sentence under 18 U.S.C. § 3582 (C)(2)

Pursuant to Retroactive Guideline Amendment 782. (Rec. Doc. 263). On July 29, 2020, the

Court granted that motion and reduced Andrews’ sentence to 135 months. Andrews is

currently housed at Oakdale 1 FCI with a projected release date of February 21, 2021. (Rec.

Doc. 271).

       On May 21, 2020, Andrews filed a Motion for Compassionate Release because of the

COVID-19 outbreak, and the Court will now address the merits of his motion.

       II.    DISCUSSION

       Andrews filed his motion for a sentence modification under the First Step Act of 2018.

He asks the Court to grant his compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A).

This statute allows for the modification of a term of imprisonment upon a finding that certain



                                         Page 1 of 4
         Case 2:10-cr-00299-JCZ-DEK Document 272 Filed 11/06/20 Page 2 of 4




extraordinary and compelling reasons warrant a reduction in an inmate's sentence. As

amended by the First Step Act in December of 2018, the compassionate release provision

provides that:

          (c) Modification of an Imposed Term of Imprisonment — the court may not
          modify a term of imprisonment once it has been imposed except that —

                         (1) in any case—

                                 (A) the court, upon motion of the Director of the Bureau
                                 of Prisons, or upon motion of the defendant after the
                                 defendant has fully exhausted all administrative rights to
                                 appeal a failure of the Bureau of Prisons to bring a motion
                                 on the defendant's behalf or the lapse of 30 days from the
                                 receipt of such a request by the warden of the defendant's
                                 facility, whichever is earlier, may reduce the term of
                                 imprisonment (and may impose a term of probation or
                                 supervised release with or without conditions that does
                                 not exceed the unserved portion of the original term of
                                 imprisonment), after considering the factors set forth in
                                 section 3553(a) to the extent that they are applicable, if it
                                 finds that—

                                 (i) extraordinary and compelling reasons warrant such a
                                 reduction . . .

                                 and that such a reduction is consistent with applicable
                                 policy   statements   issued   by    the    Sentencing
                                 Commission[.] 1


          Although sentence reductions under § 3582 historically could be ordered only upon a

motion by the Director of the BOP, the First Step Act of 2018 amended the statute to allow

prisoners to petition the district courts as set forth above. However, as the statute makes

clear, prior to filing motions for release in the district court, a prisoner must first exhaust his

administrative remedies either by fully exhausting administrative appeals of the BOP's

decision not to file a motion for compassionate release on his behalf, or by filing the motion

with the court after a lapse of 30 days from the date of the warden's receipt of his request for



1   18 U.S.C. § 3582(c)(1)(A).

                                              Page 2 of 4
      Case 2:10-cr-00299-JCZ-DEK Document 272 Filed 11/06/20 Page 3 of 4




release, “whichever is earlier.” 18 U.S.C. § 3852(c)(1)(A). The administrative -exhaustion

provision is set out in mandatory terms—the district court can modify a sentence only after

the defendant has exhausted administrative remedies. This mandatory language includes no

exceptions, equitable or otherwise.

       Here, Andrews has not alleged that he submitted a request to the warden in support

of his claim, and the BOP has affirmed that no such request was received. Thus, by filing the

instant motion, Andrews aims to have this Court waive the exhaustion prerequisite due to the

grave dangers presented by COVID-19. However, the Court has no power to waive the

exhaustion requirement. See United States v. Vedros, No. CR 14-237, 2020 WL 2838589, at

*2 (E.D. La. June 1, 2020) (Africk, J.) (where an inmate alleged he submitted a request but

provided no documentation and the BOP had no record of it, the Court dismissed the motion

without prejudice). The Supreme Court has stated that “[w]here Congress specifically

mandates, exhaustion is required.” McCarthy v. Madigan, 503 U.S. 140, 144 (1992),

superseded by statute on other grounds as stated in Booth v. Churner, 532 U.S. 731, 740-41

(2001); see also Booth, 532 U.S. at 741 n.6 (“we will not read futility or other exceptions into

statutory exhaustion requirements where Congress has provided otherwise.”); see generally

Ross v. Blake, 136 S. Ct. 1850, 1856-57 (2016) (reviewing the Prisoner Litigation Reform Act

and explaining that “mandatory [statutory] language means a court may not excu se a failure

to exhaust”; this is because “a statutory exhaustion provision stands on a different footing.

There, Congress sets the rules—and courts have a role in creating exceptions only if

Congress wants them to.”). Thus, because the Court cannot waive the requirement that

Andrews exhaust his administrative remedies, the Court has no authority to modify h is

sentence under § 3582.

       Accordingly;



                                          Page 3 of 4
     Case 2:10-cr-00299-JCZ-DEK Document 272 Filed 11/06/20 Page 4 of 4




      IT IS ORDERED that the Motion for Compassionate Release (Rec. Doc. 262)

pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) filed by the Defendant Ykeith Andrews is DENIED.




                                                __________________________________
      November 6, 2020                                  JUDGE JAY C. ZAINEY
                                                   UNITED STATES DISTRICT JUDGE




                                       Page 4 of 4
